117 F.3d 1426
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellant,v.Pedro AGUILAR-PIMENTAL, Defendant-Appellee.
    No. 96-50371.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 11, 1997.**Decided July 7, 1997.
    
      1
      Before FLETCHER and PREGERSON, Circuit Judges, and WEXLER, District Judge.***
    
    
      2
      MEMORANDUM*
    
    
      3
      Defendant Pedro Aguilar-Pimental ("Aguilar") pleaded guilty to violating 8 U.S.C. § 1326(b)(1)--illegal reentry after deportation "subsequent to a conviction for a commission of a felony."   The government appeals the district court's decision to enhance Aguilar's offense level by 4 levels under U.S.S.G. § 2L1.2(b)(1) instead of enhancing the sentence by 16 levels under U.S.S.G. § 2L1.2(b)(2).
    
    
      4
      This court's decision in United States v. Fuentes-Barahona, 111 F.3d 651, 653 (9th Cir.1997), held that sentencing courts may not enhance a sentence under U.S.S.G. § 2L1.2(b)(2) by using an aggravated felony committed before November 29, 1990.  Therefore, the district court did not commit error in refusing the government's request to adjust Aguilar's sentence upward by sixteen levels under U.S.S.G. § 2L1.2(b)(2).
    
    
      5
      Affirmed.
    
    
      
        **
         The panel unanimously found this case suitable for decision without oral argument.  Fed. R.App. P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         * The Honorable Leonard D. Wexler, Senior United States District Judge for the Eastern District of New York, sitting by designation
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    